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12                          UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14

15 WILLIAM MARTIN and LORI                  Case No.: 2:20-cv-10518-JVS-MRW
   MITCHELL, each individually and on
16 behalf of all others similarly situated,

17                      Plaintiffs,          ORDER RE PLAINTIFFS’ EX PARTE
18   vs.                                     APPLICATION FOR AN ORDER
                                             REQUIRING NOTICE OF SETTLEMENT
19 TOYOTA MOTOR CREDIT                       TO POTENTIAL STATUTORY CLASS
   CORPORATION, a California                 MEMBERS
20 Corporation

21                      Defendant.
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                   [Proposed] Order Re Ex Parte Application for Order Requiring
                          Notice of Settlement to Potential Class Members
Case 2:20-cv-10518-JVS-MRW Document 67 Filed 07/23/22 Page 2 of 2 Page ID #:877



1                                    ORDER

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3          FOR GOOD CAUSE SHOWN Plaintiffs’ Ex Parte Application for an Order
4    Requiring Notice of Settlement to Potential Statutory Class Members is GRANTED.
5          The Court orders that Notice of the Settlement be provided to the customers whose
6    accounts were removed by TMCC from the Statutory Class list based on telephone calls
7    with third-party GAP Administrators. TMCC shall provide the required data and contact
8    information for these accounts to the Claims Administrator as required by the Settlement.
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10         IT IS SO ORDERED.
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     Dated: July 23, 2022                   _________________________________
13                                          HON. JAMES V. SELNA
                                            UNITED STATES DISTRICT JUDGE
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                     [Proposed] Order Re Ex Parte Application for Order Requiring
                            Notice of Settlement to Potential Class Members
